
Appellant Ronnie Cassady was convicted by a Mobile County jury for the sale of Dextroamphitimine sulfate and amobarbitol in violation of § 20-2-70, Code of Alabama (1975). He was sentenced to a term of 40 years in the penitentiary and fined $25,000.
This appeal raises an issue identical to the threshold issue raised in a companion case stemming from Cassady's conviction in three consolidated drug cases in Mobile County: Whether Cassady's conviction and sentencing was in violation of a pre-existing *Page 457 
negotiated plea agreement with the Mobile County District Attorney's office.
We remand this case on the authority of Cassady v. State,486 So.2d 449 (Ala.Crim.App. 1984), for an evidentiary hearing on the issue of whether a negotiated plea agreement existed with respect to this case and the terms of any such agreement. The trial judge should make written findings of fact on this issue and return same together with the transcript to this court.
REMANDED WITH INSTRUCTIONS.
All the Judges concur.
 ON RETURN TO REMAND